    Case 2:16-cv-00463-GZS Document 8 Filed 10/31/16 Page 1 of 5                                 PageID #: 21




                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF MAINE

ANTHONY LOGAN,                                        )
                                                      )
                 Plaintiff                            )
                                                      )
        v.                                            )       No. 2:16-cv-00463-GZS
                                                      )
YORK COUNTY SHERIFF,                                  )
                                                      )
                 Defendant                            )


                RECOMMENDED DECISION SCREENING COMPLAINT
                      PURSUANT TO 28 USC §§ 1915, 1915A

        In this action, Plaintiff Anthony Logan complains of disruption in the receipt of his

mail while incarcerated at the York County Jail. Plaintiff filed an application to proceed

in forma pauperis (ECF No. 4), which application the Court granted. (ECF No. 5.)

        In accordance with the in forma pauperis statute, a preliminary review of Plaintiff’s

complaint is appropriate. 28 U.S.C. § 1915(e)(2). Additionally, Plaintiff’s complaint is

subject to screening “before docketing, if feasible or ... as soon as practicable after

docketing,” because he is “a prisoner seek[ing] redress from a governmental entity or

officer or employee of a governmental entity.” 28 U.S.C. § 1915A(a).1

        Following a review of the pleadings, I recommend the Court dismiss Plaintiff’s

complaint for failure to state a federal claim.




1
 In his complaint, Plaintiff stated his current address was in Westbrook, Maine. However, Plaintiff’s mail to the
Court, including his most recent indication of intent to proceed (ECF No. 6), has all come from the York County Jail.
 Case 2:16-cv-00463-GZS Document 8 Filed 10/31/16 Page 2 of 5                 PageID #: 22




                                  STANDARD OF REVIEW

       When a party is proceeding in forma pauperis, “the court shall dismiss the case at

any time if the court determines,” inter alia, that the action is “frivolous or malicious” or

“fails to state a claim on which relief may be granted.” 28 U.S.C. § 1915(e)(2)(B).

“Dismissals [under § 1915] are often made sua sponte prior to the issuance of process, so

as to spare prospective defendants the inconvenience and expense of answering such

complaints.” Neitzke v. Williams, 490 U.S. 319, 324 (1989).

       In addition to the review contemplated by § 1915, Plaintiff’s complaint is subject to

screening under the Prison Litigation Reform Act because Plaintiff currently is incarcerated

and seeks redress from governmental entities and officers. See 28 U.S.C. § 1915A(a), (c).

The § 1915A screening requires courts to “identify cognizable claims or dismiss the

complaint, or any portion of the complaint, if the complaint (1) is frivolous, malicious, or

fails to state a claim ...; or (2) seeks monetary relief from a defendant who is immune from

such relief.” 28 U.S.C. § 1915A(b).

       When considering whether a complaint states a claim for which relief may be

granted, courts must assume the truth of all well-plead facts and give the plaintiff the

benefit of all reasonable inferences therefrom. Ocasio-Hernandez v. Fortuno-Burset, 640

F.3d 1, 12 (1st Cir. 2011). A complaint fails to state a claim upon which relief can be

granted if it does not plead “enough facts to state a claim to relief that is plausible on its

face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). “The relevant question

... in assessing plausibility is not whether the complaint makes any particular factual

allegations but, rather, whether ‘the complaint warrant[s] dismissal because it failed in toto

                                              2
 Case 2:16-cv-00463-GZS Document 8 Filed 10/31/16 Page 3 of 5                    PageID #: 23




to render plaintiffs’ entitlement to relief plausible.’”        Rodríguez–Reyes v. Molina–

Rodríguez, 711 F.3d 49, 55 (1st Cir. 2013) (quoting Twombly, 550 U.S. at 569 n. 14).

Although a pro se plaintiff’s complaint is subject to “less stringent standards than formal

pleadings drafted by lawyers,” Haines v. Kerner, 404 U.S. 519, 520 (1972), the complaint

may not consist entirely of “conclusory allegations that merely parrot the relevant legal

standard,” Young v. Wells Fargo, N.A., 717 F.3d 224, 231 (1st Cir. 2013). See also Ferranti

v. Moran, 618 F.2d 888, 890 (1st Cir. 1980) (explaining that the liberal standard applied to

the pleadings of pro se plaintiffs “is not to say that pro se plaintiffs are not required to plead

basic facts sufficient to state a claim”).

                                    BACKGROUND FACTS

       Plaintiff alleges that while incarcerated at the York County Jail, he received his mail

on a regular basis until Corrections Officer Mayo began working in his pod, at which time

Officer Mayo began reading Plaintiff’s mail. According to Plaintiff, Officer Mayo held

some of Plaintiff’s mail without first obtaining Plaintiff’s signature on the appropriate

consent form. On September 11, 2016, Plaintiff received an item of mail dated August 29,

2016. Plaintiff asserts his claim against the York County Sheriff’s Department and its staff.

                                          DISCUSSION

       “[A] prisoner’s right to the free flow of incoming and outgoing mail is protected by

the First Amendment.” Davis v. Goord, 320 F.3d 346, 351 (2d Cir. 2003). “In balancing

the competing interests implicated in restrictions on prison mail, courts have consistently

afforded greater protection to legal mail than to non-legal mail, as well as greater protection

to outgoing mail than to incoming mail.” Id. In Wolff v. McDonnell, the Supreme Court

                                                3
 Case 2:16-cv-00463-GZS Document 8 Filed 10/31/16 Page 4 of 5                PageID #: 24




held that legal mail from a prisoner’s counsel can be inspected for contraband while still

preserving the confidential nature of the communication by opening the mail in the

prisoner’s presence. 418 U.S. 539, 576 – 77 (1974). However, other than in the context

of mail between attorney and client, which raises special concerns related to the prisoner’s

access to the courts, a prison policy of opening and examining incoming mail does not raise

a constitutional concern. Kaufman v. McCaughtry, 419 F.3d 678, 685 (7th Cir. 2005)

(“Inmates have a First Amendment right both to send and receive mail, but that right does

not preclude prison officials from examining mail to ensure that it does not contain

contraband[.]” (citation omitted)).

       A prisoner’s constitutional interest in receiving mail can be violated by the failure

of prison staff to deliver timely incoming mail. Isolated incidents and short-term delay,

however, do not rise to the level of a constitutional violation. Sizemore v. Williford, 829

F.2d 608, 610 (7th Cir. 1987) (“[A]n isolated delay or some other relatively short-term,

non content-based disruption in the delivery of inmate reading materials will not support,

even as against a motion to dismiss, a cause of action grounded upon the First

Amendment.”); Langlois v. Dane Cty. Sheriffs Office & Deputies, No. 3:08-cv-541, 2008

WL 4722993, at *1 (W.D. Wis. Oct. 23, 2008) (dismissing claim alleging 10-day denial of

all incoming mail during period of “lockdown”).

       In this case, Plaintiff’s allegations regarding Officer Mayo’s handling of Plaintiff’s

incoming mail, including the alleged delay in the delivery of the mail by 13 days, would




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    Case 2:16-cv-00463-GZS Document 8 Filed 10/31/16 Page 5 of 5                        PageID #: 25




not support a finding that Defendants violated Plaintiff’s constitutional rights. 2 Rowe v.

Shake, 196 F.3d 778, 780 (7th Cir. 1999) (affirming sua sponte dismissal where the

allegations indicated that multiple articles of mail were delayed, including 10 items delayed

by 14 days or less).

                                            CONCLUSION

        Based on the foregoing analysis, pursuant to 28 U.S.C. § 1915(e)(2) and 28 U.S.C.

§ 1915A(a), I recommend that the Court dismiss Plaintiff’s complaint.

                                               NOTICE

               A party may file objections to those specified portions of a magistrate
        judge’s report or proposed findings or recommended decisions entered
        pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by the district
        court is sought, together with a supporting memorandum, within fourteen
        (14) days of being served with a copy thereof. A responsive memorandum
        shall be filed within fourteen (14) days after the filing of the objection.

               Failure to file a timely objection shall constitute a waiver of the right
        to de novo review by the district court and to appeal the district court’s order.


                                                /s/ John C. Nivison
                                                U.S. Magistrate Judge

        Dated this 31st day of October, 2016.




2
 Plaintiff alleges the letter was “dated August 29” and he received it on September 11. Plaintiff does not
specify whether August 29 was the date the letter was post-marked or the date the author wrote the letter.
Regardless, a one-time delay of 13 days does not constitute a constitutional deprivation.

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